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                             Exhibit A




                                                                 Exhibit A - Page 11
       Case 2:23-cv-07410-MWF-MRW                                          Document 1-1                    Filed 09/07/23                       Page 2 of 42 Page ID
                                                                                 #:15
Electronically FILED by Superior Court of California, County of Los Angeles on 07/02/2020 11:46 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                                                                                       20STCV25029

       ~TTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                                                                                   -
                                                                                                                                                                                 CM010
                                                                                                                                                 FOR COURT USE ONLY
          Beth Gunn, Catherine Coble                                 SBN: 218889, 223461
          GUNN COBLE LLP
          IOI S. 1st Street, Suite 407, BURBANK, CA 91502
               TELEPHONE N0.:(8}8) 900-0695                       FAXN0.:(818) 900-0723
         ATTORNEY FOR (NameJ:JANETTE BECKMAN
       SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
             STREET ADDRESS: 111 North Hill Street
             MAILING ADDRESS: 111 North Hill Street
            CITY AND ZIP CODE: Los Angeles, 90012
                    BRANCH NAME: Stanlev Mosk Courthouse
            CASE NAME: Janette Beckman, et al. v. American Airlines Group Inc., et al.


               CIVIL CASE COVER SHEET                                                                                         CASE NUMBER:
                                                                             Complex Case Designation
        [x] Unlimited             Limited D                   Counter   D          Joinder        D
                   (Amount        (Amount
                                                                                                JUDGE:
                   demanded       demanded is          Filed with first appearance by defendant
                   exceeds $25,000)
                                  $25,000 or less)          (Cal. Rules of Court, rule 3.402)    DEPT:
                                      Items 1-6 below must be completed (see mstruct10ns on page 2).
       1. Check one box below for the case type that best describes this case:
             Auto Tort                                               Contract                                         Provisionally Complex Civil Litigation
             D       Auto (22)                                       D       Breach of contracVwarranty (06)          (Cal. Rules of Court, rules 3.400-3.403)
             D       Uninsured motorist (46)                         D       Rule 3.740 collections (09)              D       AntitrusVTrade regulation (03)
             Other PI/PD/WD (Personal Injury/Property                D       Other collections (09)                   D       Construction defect (10)
             Damage/Wrongful Death) Tort                             D       Insurance coverage (18)                  D       Mass tort (40)
             D       Asbestos (04)                                   D       Other contract (37)                      D       Securities litigation (28)
             D       Product liability (24)                          Real Property                                    D       Environmental/Toxic tort (30)
             D       Medical malpractice (45)                        D       Eminent domain/Inverse                   D       Insurance coverage claims arising from the
             D       Other Pl/PD/WO (23)                                     condemnation (14)                                above listed provisionally complex case
             Non-PI/PD/WD (Other) Tort                               D       Wrongful eviction (33)                           types (41)

             D       Business torVunfair business practice (07)      DOther real property (26)                        Enforcement of Judgment
             D       Civil rights (08)                          Unlawful Detainer                                     D       Enforcement of judgment (20)
             D       Defamation (13)                                 DCommercial (31)                                 Miscellaneous Civil Complaint
             D       Fraud (16)                                      DResidential (32)                                0       RICO(27)
             D       Intellectual property (19)                      D       Drugs (38)                               D      Other complaint (not specified above) (42)
             D       Professional negligence (25)                    Judicial Review                                  Miscellaneous Civil Petition
             D       Other non-Pl/PD/WO tort (35)                    D       Asset forfeiture (05)                    D       Partnership and corporate governance (21 )
             Employment                                              D       Petition re: arbitration award (11)
                                                                                                                      D      Other petition (not specified above) (43)
             D       Wrongful termination (36)                       D       Writ of mandate (02)
          [X] Other employment (15)                                  D
                                                             Other judicial review (39)
       2. This case         is     X is not       complex under rule 3.400 of the California Rules of Court. If th case is complex, mark the
          factors requiring exceptional judicial management:
              a.   D     Large number of separately represented parties                    d.   D Large number of witnesses
              b.0 Extensive motion practice raising difficult or novel                     e.   D Coordination with related actio s pending in one or more courts
                         issues that will be time-consuming to resolve                                in other counties, states, or co ntries, or in a federal court
              c.   D     Substantial amount of documentary evidence                        f.   D Substantial postjudgment judici I supervision
       3.     Remedies sought (check all that apply): a.[X] monetary                     b. [X] non monetary; declaratory or inju ctive relief                      c. [X] punitive
       4.     Number of causes of action (specify): 18
       5. This case          D
                            is   [xJ is not a class action suit.
       6. If there are any known related cases, file and serve a notice of related case. (You may use form CM 015.)

       Date:July 2, 2020
       Catherine Coble
                                          (TYPE OR PRINT NAME)                                                                                   ATTORNEY FOR PARTY)
                                                                                        NOTI E
            • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small cl ims cases or cases filed
              under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3           0.) Failure to file may result
              in sanctions.
            • File this cover sheet in addition to any cover sheet required by local court rule.
            • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a co y of this cover sheet on all
              other parties to the action or proceeding.
            • Unless this is a collections case under rule 3. 7 40 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                                                                                                                                                 !Sage 1 ol 2
       Form Adopted for Mandatory Use                                                                                              Cal. Rules   Court, rules 2.30, 3.220, 3.400-3.4-03, 3.740;
         Judicial Council of California
                                                                     CIVIL CASE COVER SHEET                                               Cal. Standards of Judicial Administration, std. 3.10
            CM-010[Rev.July 1,2007)                                                                                                                                    www.courtinfo.ca.gov
                                                                                                                                                            Westlaw Doc & Fonn Builder




                                                                                                                                                    Exhibit A - Page 12
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                                                                                                                                         CM-010
                                      INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                            Provisionally Complex Civil Litigation {Cal.
     Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                           Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                           Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                               or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                       Contract/Warranty Breach-Seller                 Securities Litigation (28)
          arbitration, check this item                         Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                                Negligent Breach of ContracV                    Insurance Coverage Claims
Other PI/PD/WD {Personal Injury/                              Warranty                                         (arising from provisionally complex
Property Damage/Wrongful Death)                           Other Breach of Contract/Warranty                    case type listed above) (41 )
Tort                                                 Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                        book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                        Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
                                                          Other Promissory Note/Collections                          County)
          Asbestos Personal Injury/
                Wrongful Death                                 Case                                           Confession of Judgment (non-
                                                     Insurance Coverage (not provisionally                           domestic relations)
     Product Liability (not asbestos or
          toxic/environmental) (24)                       complex) (18)                                       Sister State Judgment
     Medical Malpractice (45)                             Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice-                            Other Coverage                                           (not unpaid taxes)
                Physicians & Surgeons               Other Contract (37)                                       Petition/Certification of Entry of
          Other Professional Health Care                  Contractual Fraud                                        Judgment on Unpaid Taxes
                Malpractice                               Other Contract Dispute                              Other Enforcement of Judgment
                                                 Real Property                                                      Case
     Other Pl/PD/WO (23)
          Premises Liability (e.g., slip             Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                and fall)                                 Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PD/WO            Wrongful Eviction (33)                               Other Complaint (not specified
                                                                                                              above) (42)
                (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                           Declaratory Relief Only
                                                          Writ of Possession of Real Property                 Injunctive Relief Only (non-
                Emotional Distress                        Mortgage Foreclosure                                       harassment)
          Negligent Infliction of                         Quiet Title
                Emotional Distress                                                                            Mechanics Lien
                                                          Other Real Property (not eminent
          Other Pl/PD/WO                                                                                      Other Commercial Complaint
                                                          domain, landlord/tenant, or
                                                                                                                     Case (non-tort/non-complex)
Non-PI/PD/WD {Other) Tort                                 foreclosure)
                                                                                                              Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer
                                                                                                                    (non-tort/non-complex)
         Practice (07)                               Commercial (31)
                                                                                                      Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,             Residential (32)                                     Partnership and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal                  Governance (21)
          harassment) (08)                                drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                    report as Commercial or Residential)                 above) (43)
           (13)                                  Judicial Review                                              Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property (19)                      Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                           Abuse
         Legal Malpractice                                Writ-Administrative Mandamus                        Election Contest
         Other Professional Malpractice                   Writ-Mandamus on Limited Court                      Petition for Name Change
              (not medical or legal)                          Case Matter                                     Petition for Relief From Late
      Other Non-Pl/PD/WO Tort (35)                        Writ-Other Limited Court Case                              Claim
Employment                                                    Review                                          Other Civil Petition
     Wrongful Termination (36)                      Other Judicial Review (39)
     Other Employment (15)                                Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                             Commissioner Appeals
CM-010 IRev. July 1. 2007]                                                                                                                Page 2 of 2
                                                     CIVIL CASE COVER SHEET



                                                                                                                       Exhibit A - Page 13
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I SHORT TITLE: Beckman, et al. v. American Airlines Group Inc, et al.                                     I   CASE NUMBER




                                   CIVIL CASE COVER SHEET ADDENDUM AND
                                           STATEMENT OF LOCATION
                    (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                    This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




             Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                       Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


             Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

             Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                       chosen.

                                             Applicable Reasons for Choosing Court Filing Location {Column C}

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.         7. Location where petitioner resides.

2. Permissive filing in central district.                                                8. Location wherein defendant/respondent functions wholly.

3. Location where cause of action arose.                                                 9. Location where one or more of the parties reside.

4. Mandatory personal injury filing in North District.                                  10. Location of Labor Commissioner Office.
                                                                                        11. Mandatory filing location (Hub Cases - unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                        non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                    A                                                          B                                                           C
                         Civil Case Cover Sheet                                          Type of Action                                         Applicable Reasons -
                               Category No.                                             (Check only one)                                         See Step 3 Above

                                Auto (22)            □   A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                1, 4, 11
   .s t:
       ::I    0
   <( I-                Uninsured Motorist (46)      □   A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist           1, 4, 11


                                                     □   A6070 Asbestos Property Damage                                                      1, 11
                             Asbestos (04)
                                                     □   A7221 Asbestos - Personal Injury/Wrongful Death                                     1, 11
   ~~
   :g_ l-
       o ..c              Product Liability (24)     □   A7260 Product Liability (not asbestos or toxic/environmental)                       1, 4, 11
   a: 1ij
   -
       ~c     Cl)
                                                                                                                                                1, 4, 11
   .=. :i                                            □   A7210 Medical Malpractice - Physicians & Surgeons
   .E '6,               Medical Malpractice (45)
                                                                                                                                             1, 4, 11
   "iij       C                                      □   A7240 Other Professional Health Care Malpractice
       C  e
       0 :s:
       I!! cii                                       □   A7250 Premises Liability (e.g., slip and fall)
       Cl)                                                                                                                                   1, 4, 11
   '= Eg,
       Cl)
                            Other Personal
                            Injury Property          □   A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                             1, 4, 11
   ..c "'                  Damage Wrongful                     assault, vandalism , etc.)
   50                         Death (23)                                                                                                     1, 4, 11
                                                     □   A7270 Intentional Infliction of Emotional Distress
                                                                                                                                             1, 4, 11
                                                     □   A7220 Other Personal Injury/Property Damage/Wrongful Death




   LASC CIV 109 Rev. 12/18
                                                    CIVIL CASE COVER SHEET ADDENDUM                                                       Local Rule 2.3

   For Mandatory Use
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I SHORT TITLE: Beckman, et al. v. American Airlines Group Inc, et al.                                    I   CASE NUMBER




                                    A                                                             B                                            C Applicable
                          Civil Case Cover Sheet                                            Type of Action                                  Reasons - See Step 3
                                Category No.                                               (Check only one)                                       Above

                            Business Tort (07)         □   A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1, 2, 3
     >, 1::
    1:: 0
     Cl)       I-            Civil Rights (08)         □   A6005 Civil Rights/Discrimination                                                1, 2, 3
     C. .c:
     o_
     ._ Ill
    ll..         Cl)
    -c                       Defamation (13)           □   A6010 Defamation (slander/libel)                                                 1, 2, 3
     ~-:::s
    ·--
    -
     :::s
      c          Cl
                 C              Fraud (16)             □   A6013 Fraud (no contract)                                                        1, 2, 3
    iii          e
     :s :s:
     111-
     ... Cl)                                           □   A6017 Legal Malpractice                                                          1, 2, 3
     C1I Cl            Professional Negligence (25)
    ll.. Ill
     c:0 IllE                                          □   A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3

    zc
                                Other (35)             □   A6025 Other Non-Personal Injury/Property Damage tort                             1, 2, 3


       -   C
           Cl)
           E
                        Wrongful Termination (36)      □   A6037 Wrongful Termination                                                       1, 2, 3

           >,
           0                                           □
                                                       X   A6024 Other Employment Complaint Case                                            1, 2, 3
       ci.                Other Employment (15)
           E                                           □   A6109 Labor Commissioner Appeals                                                 10
       w

                                                       □   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                            2, 5
                                                                 eviction)
                       Breach of Contract/ Warranty                                                                                         2, 5
                                   (06)                □   A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                             (not insurance)                                                                                                1, 2, 5
                                                       □   A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                            1, 2, 5
                                                       □   A6028 Other Breach of Contract/Warranty (not fraud or negligence)

       t,
                                                       □
       -...Ill                                             A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                             Collections (09)
           C
           0                                           □   A6012 Other Promissory Note/Collections Case                                     5, 11
       (.)
                                                       □   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                                 Purchased on or after Januarv 1, 2014)

                         Insurance Coverage (18)       □   A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8


                                                       □   A6009 Contractual Fraud                                                          1, 2, 3, 5
                           Other Contract (37)         □   A6031   Tortious Interference                                                    1, 2, 3, 5

                                                       □   A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3,8, 9

                         Eminent Domain/Inverse
                           Condemnation (14)           □   A7300 Eminent Domain/Condemnation                   Number of parcels_ _ _       2, 6

       ~
       Cl)
           c..            Wrongful Eviction (33)       □   A6023 Wrongful Eviction Case                                                     2, 6

       ll..
           e
       iii                                             □   A6018 Mortgage Foreclosure                                                       2, 6
        Cl)
       a::               Other Real Property (26)      □   A6032 Quiet Title                                                                2, 6

                                                       □   A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6

                       Unlawful Detainer-Commercial
           ...
           Cl)
                                   (31)                □   A6021   Unlawful Detainer-Commercial (not drugs or wrongful eviction)            6, 11
           C

       ~
       C
                       Unlawful Detainer-Residential
                                   (32)                □   A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11

       :i                  Unlawful Detainer-
                                                       □   A6020F Unlawful Detainer-Post-Foreclosure                                        2, 6, 11
       I   C
                          Post-Foreclosure (34)

       ::::>           Unlawful Detainer-Drugs (38)    □   A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



                                                       CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3
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I SHORT TITLE: Beckman, et al. v. American Airlines Group Inc, et al.                                   I   CASE NUMBER




                                     A                                                           B                                         C Applicable
                          Civil Case Cover Sheet                                           Type of Action                               Reasons - See Step 3
                                Category No.                                              (Check only one)                                    Above

                           Asset Forfeiture (05)        □    A6108 Asset Forfeiture Case                                               2, 3, 6


                        Petition re Arbitration (11)    □    A6115 Petition to Compel/Confirm/Vacate Arbitration                       2, 5


                                                        □    A6151 Writ - Administrative Mandamus                                      2, 8
                           Writ of Mandate (02)         □    A6152 Writ - Mandamus on Limited Court Case Matter                        2

                                                        □    A6153 Writ - Other Limited Court Case Review                              2


                        Other Judicial Review (39)      □    A6150 Other Writ /Judicial Review                                         2, 8


           C:
                      Antitrust/Trade Regulation (03)   □    A6003 Antitrust/Trade Regulation                                          1, 2, 8
           0
        ~
           Cl            Construction Defect (10)       □    A6007 Construction Defect                                                  1, 2, 3
        :;::;
        :::i
        ><              Claims Involving Mass Tort
        (I)
                                   (40)                 □    A6006 Claims Involving Mass Tort                                           1, 2, 8
        ci.
           E
           0
        (.)              Securities Litigation (28)     □    A6035 Securities Litigation Case                                          1, 2, 8
        ~
        "iii                    Toxic Tort
           C:
           0                Environmental (30)          □    A6036 Toxic Tort/Environmental                                             1, 2, 3, 8
        "iii
        ·s:
        c..
           e           Insurance Coverage Claims
                                                        □    A6014 Insurance Coverage/Subrogation (complex case only)                   1, 2, 5, 8
                         from Complex Case (41)

                                                         □   A6141 Sister State Judgment                                               2, 5, 11

   --
    C:
    (I)
    E  E
                C:
                (I)

                               Enforcement
                                                        □
                                                        □
                                                             A6160 Abstract of Judgment
                                                             A6107 Confession of Judgment (non-domestic relations)
                                                                                                                                       2, 6
                                                                                                                                       2, 9
    a, Cl
    ~                        of Judgment (20)
               "C
                                                        □    A6140 Administrative Agency Award (not unpaid taxes)                      2, 8
   .E ~
   ifj 0                                                □    A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax            2, 8

                                                        □    A6112 Other Enforcement of Judgment Case                                  2, 8, 9


                                RICO (27)               □    A6033 Racketeering (RICO) Case                                             1, 2, 8
    Ill        .fl
    :::s        C:
    0          "iii                                     □    A6030 Declaratory Relief Only                                              1, 2, 8
    :g ci.
   .!!!         E            Other Complaints           □    A6040 Injunctive Relief Only (not domestic/harassment)                    2, 8
   "iii 0
    u (.)               (Not Specified Above) (42)
    Ill                                                 □    A6011 Other Commercial Complaint Case (non-tort/non-complex)               1, 2, 8
   :lE ·s:
               c3                                       □    A6000 Other Civil Complaint (non-tort/non-complex)                         1, 2, 8

                         Partnership Corporation
                            Governance (21)             □    A6113 Partnership and Corporate Governance Case                           2, 8


                                                        □    A6121 Civil Harassment With Damages                                       2, 3, 9
    Ill         Ill
    :::s
    0
                C:
                0
                                                        □    A6123 Workplace Harassment With Damages                                   2, 3, 9
    ~.:;
   .!l! ~                                               □    A6124 Elder/Dependent Adult Abuse Case With Damages                       2, 3, 9
                           Other Petitions (Not
   "iii c..               Specified Above) (43)         □    A6190 Election Contest
    ~          ·s:                                                                                                                     2
   :lE c3                                               □    A6110 Petition for Change of Name/Change of Gender                        2, 7
                                                        □    A6170 Petition for Relief from Late Claim Law                             2, 3, 8
                                                        □    A6100 Other Civil Petition                                                2, 9




                                                        CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3
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                                                           AND STATEMENT OF LOCATION                                                   Page 3 of 4
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 SHORT TITLE:   Beckman, et al. v. American Airlines Group Inc, et al.                   CASE NUMBER




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                         ADDRESS:
   REASON:                                                               400WorldWay
    01.~2-~3.04.05.06.07. 08.0 9.010.011.



   CITY:                                      STATE:     ZIP CODE:

   Los Angeles                               CA         90045


Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                          District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(l)(E)].




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1.   Original Complaint or Petition.

       2.       If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3.   Civil Case Cover Sheet, Judicial Council form CM-010.

       4.       Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
                02/16).

       5.   Payment in full of the filing fee, unless there is court orderforwaiver, partial or scheduled payments.

       6.   A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
            minor under 18 years of age will be required by Court in order to issue a summons.

       7.   Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
            must be served along with the summons and complaint, or other initiating pleading in the case.




                                            CIVIL CASE COVER SHEET ADDENDUM                                           Local Rule 2.3
  LASC CIV 109 Rev. 12/18
                                               AND STATEMENT OF LOCATION                                                Page 4 of 4
  For Mandatory Use




                                                                                                             Exhibit A - Page 17
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Electronically FILED by Superior Court of California, County of Los Angeles on 07/02/2020 11:46 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
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                                         Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Richard Fruin




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                        7
                        8
                                                           SUPERIOR COURT FOR OF STATE OF CALIFORNIA
                        9
                      10                                                 FOR THE COUNTY OF LOS ANGELES
                      11
                      12

                      13      JANETTE BECKMAN, an individual, and                                             Case No. _________________
                              LEEANNE HANSEN, an individual,
                      14                                                                                      COMPLAINT FOR DAMAGES
                                                     Plaintiffs,
                      15                                                                                       1.    SEXUAL BATTERY;
                      16                  vs.                                                                  2.    BATTERY;
                                                                                                               3.    ASSAULT;
                      17      AMERICAN AIRLINES GROUP INC., a
                              Delaware corporation, AMERICAN                                                   4.    HARASSMENT ON THE BASIS OF
                      18      AIRLINES, INC., a Delaware corporation,                                                SEX/GENDER IN VIOLATION OF
                              SIGSBEE “JOHN” NELSON, an individual,                                                  FEHA;
                      19      CAMERON BINION, an individual, TIM                                               5.    DISCRIMINATION ON THE BASIS
                              MCCANN, an individual and DOES 1 through                                               OF SEX/GENDER IN VIOLATION OF
                      20      50, inclusive,
                                                                                                                     FEHA;
                      21                             Defendants.                                               6.    DISCRIMINATION ON THE BASIS
                                                                                                                     OF DISABILITY AND/OR MEDICAL
                      22                                                                                             CONDITION IN VIOLATION OF
                                                                                                                     FEHA;
                      23                                                                                       7.    HARASSMENT ON THE BASIS OF
                      24                                                                                             DISABILITY AND/OR MEDICAL
                                                                                                                     CONDITION IN VIOLATION OF
                      25                                                                                             FEHA;
                                                                                                               8.    FAILURE TO ACCOMMODATE IN
                      26                                                                                             VIOLATION OF FEHA;
                      27                                                                                       9.    FAILURE TO ENGAGE IN THE
                                                                                                                     INTERACTIVE PROCESS IN
                      28                                                                                             VIOLATION OF FEHA;
                                                                                                1
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   1                                        10. RETALIATION FOR OPPOSING
                                                PRACTICES FORBIDDEN BY FEHA;
   2
                                            11. FAILURE TO PREVENT,
   3                                            INVESTIGATE, AND REMEDY
                                                HARASSMENT, DISCRIMINATION,
   4                                            AND/OR RETALIATION IN
                                                VIOLATION OF FEHA;
   5
                                            12. WHISTLEBLOWER RETALIATION
   6                                            IN VIOLATION OF LABOR CODE
                                                SECTION 1102.5;
   7                                        13. WHISTLEBLOWER RETALIATION
                                                IN VIOLATION OF LABOR CODE
   8
                                                SECTION 6310;
   9                                        14. INTENTIONAL INFLICTION OF
                                                EMOTIONAL DISTRESS;
  10                                        15. NEGLIGENT INFLICTION OF
  11                                            EMOTIONAL DISTRESS;
                                            16. NEGLIGENT
  12                                            RETENTION/SUPERVISION;
                                            17. FAILURE TO REIMBURSE
  13                                            BUSINESS EXPENSES IN
  14                                            VIOLATION OF LABOR CODE
                                                SECTION 2802;
  15                                        18. VIOLATION OF CIVIL CODE
                                                SECTION 51.7 (RALPH ACT).
  16
                                              DEMAND FOR JURY TRIAL.
  17
  18

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                                        2
                              COMPLAINT FOR DAMAGES


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  1          Plaintiffs JANETTE BECKMAN (“BECKMAN”) and LEEANNE HANSEN (“HANSEN”)
  2 (hereinafter collectively referred to as “PLAINTIFFS”) bring this action as individuals against
  3 AMERICAN AIRLINES GROUP INC. (“AAG”), a Delaware corporation, AMERICAN
  4 AIRLINES, INC. (“AA”), a Delaware corporation (AAG and AA are hereinafter referred to
  5 collectively as “AMERICAN” or “the COMPANY”), SIGSBEE “JOHN” NELSON (“NELSON”),
  6 an individual, CAMERON BINION (“BINION”), an individual, and TIM MCCANN

  7 (“MCCANN”), an individual. ] (the aforementioned defendants are referred to collectively as
  8 “DEFENDANTS”).          PLAINTIFFS complain and allege as follows on the basis of personal
  9 knowledge and/or information and belief:
 10                                          INTRODUCTION
 11          1.     This case is a shocking example of a patriarchal playground where almost exclusively
 12 male “assets” known as pilots are allowed to roam free to assault flight attendants as they please

 13 while AMERICAN sits idly by, failing to properly train its workforce or otherwise restrain abusive
 14 misconduct towards the employees or the customers it is obligated to protect.          In this case,
 15 AMERICAN allowed a known sexual predator to drunkenly harass and physically assault lifelong
 16 flight attendants who had devoted their entire professional lives to providing excellent service for
 17 AMERICAN’s customers.          Instead of protecting them or effectively addressing PLAINTIFFS’
 18 complaints about a compromised pilot who could be unknowingly risking AMERICAN’s customers’

 19 lives while aboard an aircraft with a drunken pilot, AMERICAN chose to protect its “asset,” and

 20 allow PLAINTIFFS to be retaliated against. This cavalier attitude toward blatant sexual assault in
 21 the #MeToo era can only be explained by the hubris of the dysfunctional workplace culture of the

 22 airline industry, and AMERICAN in particular, which has willfully ignored rampant sexual assault
 23 in its midst for decades.
 24          2.     Public awareness of these issues, through national news and magazine articles, has
 25 been prolific. According to one source, “[w]omen constitute nearly 80% of U.S. flight attendants,

 26 and more than two-thirds of them have been sexually harassed during their careers, according to a

 27

 28
                                                   3
                                         COMPLAINT FOR DAMAGES


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  1   recent survey by the Assn. of Flight Attendants-CWA” 1 At the same time, flight attendants are
  2 disincentivized from reporting such incidents, and “only 7% of flight attendances [sic] who have
  3 experienced abuse have reported it . . . .” 2 As part of this culture of silence and hierarchical
  4 oppression, AMERICAN did not act to protect its flight attendants or the flying public, and instead
  5 retaliated against PLAINTIFFS when they were forced to speak up for themselves and blow the
  6 whistle on DEFENDANTS’ illegal activities. Unfortunately, PLAINITFFS’ worst fears were

  7 realized when they suffered extensive retaliation for having the courage to report pilot sexual
  8 misconduct and demand that action be taken. This lawsuit seeks to hold all DEFENDANTS

  9 accountable for their roles in perpetrating, and enabling the harassment and intimidation of
 10 PLAINTIFFS.
 11                                     JURISDICTION AND VENUE
 12          3.      The Superior Court of the State of California has jurisdiction over this action pursuant
 13 to California Constitution Article VI, section 10, which grants the Superior Court “original
 14 jurisdiction in all cases except those given by statute to other trial courts.”
 15          4.      The Superior Court of the State of California has jurisdiction over this matter.
 16 PLAINTIFFS are residents and citizens of, and are domiciled in, the State of California.
 17 Moreover, upon information and belief, at least one Defendant is a citizen of California, the alleged
 18 harassing, discriminatory, and retaliatory acts occurred in California, significant relief is being

 19 sought against DEFENDANTS whose violations of California employment laws form a significant

 20 basis for PLAINTIFFS’ claims. Further, no federal question is at issue because the claims are
 21 based solely on California law and at least one Defendant is a resident of, and/or regularly conducts

 22 business in the State of California.
 23
 24

 25
      1
      Elliot Hester, Passengers Aren’t the Only Ones who Suffer Sexual Abuse – So Do Flight
 26 Attendants, Los Angeles Times, May 13, 2019, available at: https://www.latimes.com/travel/la-tr-
    travel-fly-guy-sexual-harassment-flight-attendants-20190506-story.html.
 27 2 Hugo Martín, Flight Attendants Say Airlines Have Failed to Address Sexual Harassment in the
    Skies, Los Angeles Times, May 12, 2018, available at: https://www.latimes.com/business/la-fi-
 28 travel-briefcase1-flight-attendant-harassment-20180512-story.html.
                                                     4
                                           COMPLAINT FOR DAMAGES


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  1          5.     Venue is proper in this judicial district and the County of Los Angeles, California
  2 because PLAINTIFF performed work for DEFENDANTS in the County of Los Angeles, and many
  3 of DEFENDANTS’ illegal acts, which are the subject of this action, occurred in the County of Los
  4 Angeles. Thus, a substantial portion of the transactions and occurrences related to this action
  5 occurred in this county. Cal. Civ. Proc. Code § 395.
  6          6.     Prior to filing this action, PLAINTIFFS timely exhausted their administrative
  7 remedies, each by filing an administrative complaint with the Department of Fair Employment and
  8 Housing (“DFEH”) and receiving a DFEH right to sue letter on April 29, 2020.

  9          7.     The doctrines of equitable tolling and continuing violations apply to PLAINTIFFS’
 10 claims herein. See Richards v. CH2M Hill, Inc., 26 Cal.4th 798 (2001); McDonald v. Antelope Valley
 11 Community College Dist., 45 Cal.4th 88 (2008).
 12                                               PARTIES
 13          8.     PLAINTIFFS are individuals who are, and at all times herein mentioned were,
 14 residents of California.
 15          9.     AAG is, and at all times mentioned in this Complaint was, an entity incorporated in
 16 Delaware, headquartered in Texas, and conducting business in California. At all relevant times
 17 herein, AAG has employed PLAINTIFFS within the meaning of California Government Code
 18 section 12926(d) and the Labor Code.

 19          10.    AA is, and at all times mentioned in this Complaint was, an entity incorporated in
 20 Delaware, headquartered in Texas, and conducting business in California. At all relevant times
 21 herein, AA has employed PLAINTIFFS within the meaning of California Government Code section

 22 12926(d) and the Labor Code.
 23          11.    PLAINTIFFS are informed and believe, and based thereon allege, that each
 24 Defendant acted in all respects pertinent to this action as the agent of the other DEFENDANTS,

 25 carried out a joint scheme, business plan or policy in all respects pertinent hereto, and the acts of

 26 each Defendant are legally attributable to the other DEFENDANTS.

 27          12.    PLAINTIFFS are informed and believe, and thereon allege, that AAG and AA each
 28 has employed PLAINTIFF, in that they exercised control over PLAINTIFF’S wages, hours or
                                                   5
                                         COMPLAINT FOR DAMAGES


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  1   working conditions, suffered and permitted PLAINTIFF to work, and/or engaged PLAINTIFF to
  2   work. See Martinez v. Combs, 49 Cal.4th 35, 64 (2010). Any of the three is sufficient to create an
  3   employment relationship.
  4          13.    To the extent one or more of DEFENDANTS did not directly hire, fire, or supervise
  5   PLAINTIFFS, PLAINTIFFS further allege that, upon information and belief, one or more
  6   DEFENDANTS control the business enterprises of one or more of the other DEFENDANTS, thereby
  7   creating an employment relationship with PLAINTIFF. See Castaneda v. Ensign Group, Inc., 229
  8   Cal.App.4th 1015, 1017-1018 (2014); Guerrero v. Superior Court, 213 Cal.App.4th 912, 950 (2013).
  9          14.    PLAINTIFFS are informed and believe that at all times relevant herein, NELSON
 10 was employed by AMERICAN as a pilot, under the title of First Officer, whose home base was Los
 11 Angeles, California.
 12          15.    PLAINTIFFS are informed and believe that at all times relevant herein, BINION was
 13 employed by AMERICAN as a Flight Service Manager who worked in Los Angeles, California.
 14          16.    PLAINTIFFS are informed and believe that at all times relevant herein, MCCANN
 15 was employed by AMERICAN as a Flight Service Director who worked in Los Angeles, California.
 16          17.    The true names and capacities of DOES 1 through 50, inclusive (“DOES”), are
 17 unknown to PLAINTIFFS at this time, and PLAINTIFFS therefore sue such DOE Defendants under
 18 fictitious names. PLAINTIFFS are informed and believe, and thereon allege, that each Defendant

 19 designated as a DOE is in some manner highly responsible for the occurrences alleged herein, and

 20   that PLAINTIFFS’ injuries and damages, as alleged herein, were proximately caused by the conduct
 21 of such DOE Defendants. PLAINTIFFS will seek leave of the court to amend this complaint to

 22 allege the true names and capacities of such DOE Defendants when ascertained.
 23          18.    PLAINTIFFS are informed and believe, and thereon allege, that each and every one
 24 of the acts and omissions alleged herein were performed by, and/or attributable to, all

 25 DEFENDANTS, each acting as agents and/or employees, and/or under the direction and control of,

 26 each of the other DEFENDANTS, and that said acts and failures to act were within the course and

 27 scope of said agency, employment and/or direction and control.

 28
                                                   6
                                         COMPLAINT FOR DAMAGES


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  1          19.     PLAINTIFFS are informed and believe, and based thereon allege, that each
  2 DEFENDANT acted in all respects pertinent to this action as the agent of the other DEFENDANTS,
  3 carried out a joint scheme, business plan or policy in all respects pertinent hereto, and the acts of
  4 each DEFENDANT are legally attributable to the other DEFENDANTS.
  5          20.     As a direct and proximate result of the unlawful actions of DEFENDANTS,
  6 PLAINTIFFS have suffered, and continue to suffer, from loss of earnings in amounts as yet

  7 unascertained, but subject to proof at trial, and within the jurisdiction of this Court.
  8                         FACTS COMMON TO ALL CAUSES OF ACTION
  9                                Overview of PLAINTIFFS’ Employment
 10          21.     PLAINTIFFS have been employed by AMERICAN as flight attendants for over 40
 11 years, each. Both over the age of 60, PLAINTIFFS should be continuing to perform excellently in
 12 jobs to which they have dedicated their lives. Instead, they find themselves disgraced among their

 13 peers and isolated from the company to which they have devoted the past four-plus decades, just
 14 because they had the courage to stand up to a pilot who sexually assaulted and harassed them in the
 15 workplace—joining an exceptionally small group of flight attendants who have done so.
 16                                     PLAINTIFFS’ Protected Status
 17          22.     PLAINTIFFS, females, were sexually harassed during their employment with the
 18 COMPANY. Consequently, PLAINTIFFS are protected employees, as defined under the California

 19 Fair Employment and Housing Act (“FEHA”). See Cal. Gov’t Code § 12940, et seq. Additionally,

 20 PLAINTIFFS engaged in protected activity when they opposed harassment and other unlawful
 21 activity at the COMPANY. Thus, PLAINTIFFS are also protected employees under the California

 22 Labor Code (“Labor Code”). See Cal. Lab. Code §§ 1102.5, 6310. Following their illegal treatment
 23 by DEFENDANTS, PLAINTIFFS each took a medical leave of absence to address their
 24 psychological and physical injuries arising from their mistreatment, and as such a protected

 25 employees with a disability pursuant to the FEHA.

 26            PLAINTIFFS Were Sexually Assaulted, Battered, and Harassed by NELSON.
 27          23.     PLAINTIFFS were working as flight attendants on a flight leaving from their home
 28 base of Los Angeles, California When NELSON, in search of alcohol, walked to the aft galley of the
                                                     7
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  1 plane, knowing there was a supply. NELSON asked for alcohol from BECKMAN, who, concerned

  2 about the safety of hundreds of passengers and her fellow crew members, denied NELSON’s request.
  3          24.    Dissatisfied with BECKMAN’s refusal to enable his on-duty drinking and flying,
  4 NELSON began sexually harassing her.            He stated, unprovoked, “I know you like S&M
  5 (sadomasochism) and I know you like to be tied up.” BECKMAN made it clear NELSON’s conduct
  6 was unwelcome.

  7          25.    HANSEN, who had overheard the exchange, sat next to BECKMAN. NELSON then
  8 turned his unwelcome advances toward HANSEN and, seeing lanyards in HANSEN’s bag, stated,

  9 “Oh, you’re into ropes? Do you wanna come to my room and tie me up?” HANSEN immediately
 10 objected to NELSON’s comment. Unrelenting, NELSON then said, “Oh, you’re one of those. You
 11 want me to tie you up?”
 12          26.    Later, apparently dissatisfied with the cold response he had received from
 13 PLAINTIFFS, NELSON, startling HANSEN from behind, grabbed HANSEN by her hips, dug his
 14 nails into her hip bones, and repeatedly and violently thrust his penis into HANSEN’s buttocks.
 15 NELSON’s actions, which BECKMAN and other personnel witnessed, were completely unwelcome.
 16 These acts occurred while PLAINTIFFS and NELSON were in uniform and on duty.
 17          27.    PLAINTIFFS promptly reported the harassment, assault, and battery NELSON
 18 inflicted upon them to Captain Sipovac, the pilot in charge of the flight. PLAINTIFFS also expressed

 19 concern over NELSON’s potential drinking of alcohol during the flight, jeopardizing the safety of

 20 passengers and the flight crew. Far from surprised, Captain Sipovac shared that, in the cockpit,
 21 NELSON boasted of his sexual conquests with underage prostitutes—in reality, child sex slaves—

 22 and visits to strip clubs during layovers, even showing pictures he kept as mementos. In addition, it
 23 was common knowledge to those who had flown with NELSON that he drank alcohol to excess on
 24 the job. On one trip, he imbibed so much while in uniform on the flight crew’s shuttle that he

 25 drunkenly fell down and split his pants open.

 26          28.    Instead of taking prompt remedial action in response to the reported harassment,
 27 assault, and battery, as required by law, Captain Sipovac deferred to PLAINTIFFS, asking them what

 28 they wanted him to do. It was apparent the COMPANY failed its employees by not equipping them
                                                   8
                                         COMPLAINT FOR DAMAGES


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  1 with proper training on how to address reported harassment, assault, and battery that occurred in the

  2 workplace. In fact, horrifyingly, NELSON was allowed to work the return leg on the same flight as
  3 PLAINTIFFS. After the flight landed, NELSON referred unapologetically to his harassment,
  4 making it clear that he intended to continue his harassing behavior.
  5          29.    As a result of NELSON’s harassment, assault, and battery, HANSEN was forced to
  6 take stress leave. BECKMAN attempted to continue working until she was forced to fly with

  7 NELSON just a week later, which she only did because Captain Sipovac said he would look out for
  8 her. Despite Sipovac’s presence, NELSON seized another opportunity to harass BECKMAN, by

  9 approaching her from behind, getting too close to her, and whispering in her ear. NELSON also
 10   again entered the galley after the passengers had deplaned, when he should not have been there,
 11   apparently rummaging in the bar cart for alcohol. Feeling like the COMPANY would not protect
 12   her, BECKMAN also went on stress leave.
 13       PLAINTIFFS Reported NELSON’s Sexual Assault, Battery, and Harassment, and Were
 14                                   Retaliated Against for Doing So.
 15          30.    After the return leg of PLAINTIFFS’ joint flight with NELSON, Sipovac
 16   recommended that PLAINTIFFS contact the Allied Pilots Association’s Professional Standards for
 17   Pilots (“PSP”) to report NELSON’s misconduct, when he should have immediately contacted the
 18   COMPANY’s Human Resources department—another indication of the COMPANY’s failure to
 19   train properly on handling reported harassment, assault, and battery.       Unsurprisingly, when
 20 PLAINTIFFS lodged a complaint with PSP, PSP excused NELSON’s misconduct—including
 21   jeopardizing the safety of hundreds of passengers while potentially flying inebriated—because
 22 NELSON was a mere two years away from retirement.
 23          31.    PLAINTIFFS then each filed a formal complaint with the COMPANY’s Human
 24   Resources department, detailing NELSON’s gross sexual harassment, assault, and battery, suspected
 25   drinking of alcohol on-the-job, and the events that followed. Shortly thereafter, the COMPANY and
 26 MCCANN offered PLAINTIFFS a “PW, Withheld from Service, Paid,” meaning paid time off until

 27 the COMPANY completed its investigation. Acting outside the usual bounds of the employment

 28 relationship, instead of following COMPANY policy, MCCANN contributed PLAINTIFFS’
                                                   9
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  1   harassment by retracting the guaranteed paid leave just days later, leaving PLAINTIFFS on indefinite
  2   unpaid leaves of absence pending the COMPANY’s investigation, which he knew would last several
  3   months.
  4          32.     As further evidence of the COMPANY’s harassing and retaliatory intent, the
  5   COMPANY granted NELSON, who had been placed on leave pending investigation, the same “PW,
  6   Withheld from Service, Paid” status that MCCANN had denied PLAINTIFFS. Thus, NELSON was
  7   rewarded, while his victims, PLAINTIFFS, were harassed and punished for speaking out against
  8   NELSON’s harassment, assault, battery, and potential endangerment of passengers and flight crew
  9   members.
 10      PLAINTIFFS Remained On Unpaid Leave for Months During its Purported Investigation,
 11      Permitting Rumors to Spread and Causing Them Significant Distress and Economic Loss
 12          33.     The COMPANY purported to investigate NELSON’s conduct. During the course of
 13 that alleged investigation, the COMPANY’s Human Resources representative met in person with
 14 PLAINTIFFS. During PLAINTIFFS’ respective meetings, the representative required PLAINTIFFS
 15 to reenact NELSON’s sexual battery, even though it was obviously emotionally traumatizing to
 16 PLAINTIFFS for them to do so. Due to the Human Resources representative’s desire to catch a
 17 flight, she cut short BECKMAN’s interview without obtaining all of the pertinent facts surrounding
 18 her experience.

 19          34.     In violation of California law and public policy, the COMPANY’s Human Resources
 20   representative told PLAINTIFFS that they could not discuss their complaints, or any details
 21 associated with it, with anyone else while the investigation was pending.

 22          35.     The COMPANY did not pay PLAINTIFFS for their time meeting (or waiting to meet)
 23 with the Human Resources representative. Nor did the COMPANY reimburse PLAINTIFFS for the
 24 costs to park for hours, to meet at the COMPANY’s offices at Los Angeles International Airport, at

 25 the COMPANY’s request.

 26          36.     For almost half a year, the COMPANY did not apprise PLAINTIFFS of any
 27 additional steps taken to investigate their complaints, or any corrective action taken. This prolonged

 28 silence, combined with the COMPANY’s illegal mandate of silence from PLAINTIFFS, knowingly
                                                    10
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  1 allowed rumors to fester regarding PLAINTIFFS, including allegations that they had wrongfully

  2 caused NELSON’s termination from the COMPANY, and that they not victims but were
  3 opportunists pursuing the matter just to game the system. The COMPANY took no steps to quash
  4 those harassing rumors, intended to make it impossible for PLAINTIFFS to return to work.
  5          37.     During this time frame, PLAINTIFFS became aware that at least one pilot, who was
  6 known for carrying a gun in the cockpit while on duty, was seeking revenge on behalf of NELSON.

  7 The pilot approached PLAINTIFFS’ fellow flight attendants, with PLAINTIFFS’ name and
  8 employee identification number written on a piece of paper he kept in his pocket, and asked if the

  9 flight attendants knew PLAINTIFFS. His manner was menacing, and caused PLAINTIFFS to fear
 10 for their safety if they were to return to work.
 11          38.     Approximately six months after PLAINTIFFS initiated their formal complaint, the
 12 COMPANY mailed PLAINTIFFS a letter that stated simply that “the matter ha[d] been closed; and

 13 appropriate action ha[d] been taken.”        At no point did (or has) the COMPANY contacted
 14 PLAINTIFFS to determine how the COMPANY could accommodate them, including how the
 15 COMPANY could return them to work without further retaliation.
 16          39.     In fact, instead of accommodating PLAINTIFFS’ disabilities or engaging in an
 17 interactive process to return them to work, the COMPANY has harassed, discriminated against, and
 18 retaliated against PLAINTIFFS. Among other things, the COMPANY schedules PLAINTIFFS for

 19 work trainings and trips, and then, when they do not show up because they are on known doctor-

 20 prescribed medical leave, the COMPANY angrily calls and messages PLAINTIFFS, exacerbating
 21 their symptoms.      Even after PLAINTIFFS complained of such conduct, the COMPANY has
 22 responded by issuing write-ups for failing to report for work, issuing disciplinary points that, if
 23 accrued to a certain level, will result in termination of employment.
 24          40.     The COMPANY and BINION also interfered with PLAINTIFFS’ medical benefits,
 25 arranging them to be cut off as a means of further harassing PLAINTIFFS, even though they knew

 26 PLAINTIFFS desperately needed their health benefits. This additional harassment resulted in

 27 exacerbated medical conditions for both PLAINTIFFS, including medical problems that were life-

 28 threatening.
                                                    11
                                          COMPLAINT FOR DAMAGES


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  1          41.     The foregoing has caused PLAINTIFFS additional emotional distress during a period
  2 when they are still trying to recover from the harassment, assault, battery, and other retaliation they
  3 already experienced.
  4          42.     Meanwhile, the COMPANY gave NELSON, the harasser, assaulter, and batterer,
  5 vastly superior treatment. Not only did he receive paid leave pending the COMPANY’s purported
  6 investigation, but it is likely that the COMPANY also gave him substantial economic benefit when

  7 he ultimately departed the COMPANY.
  8          43.     In acts of further harassment and retaliation, BINION and the COMPANY sent
  9 BECKMAN a disciplinary letter for failing to appear at work when she was on a known medical
 10 leave of absence. The letter threatened to terminate her if she missed more work. The COMPANY
 11 followed up with harassing voice mail messages. Even after BECKMAN provided proof of her
 12 doctor-approved leave, the COMPANY and BINION refused to remove the false records from her

 13 personnel file and continued to threaten her to come to work.
 14          44.     As a consequence of DEFENDANTS’ conduct, PLAINTIFFS have had to employ
 15 attorneys to prosecute this action, and have therefore incurred costs and attorneys’ fees necessary to
 16 pursue this action.
 17                                     FIRST CAUSE OF ACTION
 18                                             Sexual Battery
 19                       (By HANSEN Against NELSON, AMERICAN, and DOES)
 20          45.     PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 21 every allegation set forth above.

 22          46.     California Civil Code section 1708.5 states that a person commits a sexual battery if
 23 he “[a]cts with the intent to cause a harmful or offensive contact with an intimate part of another,
 24 and a sexually offensive contact with that person directly or indirectly results,” or if he “[a]cts to

 25 cause an imminent apprehension of” such conduct, “and a sexually offensive contact with that person

 26 directly or indirectly results.” See Cal. Civ. Code § 1708.5.

 27          47.     As alleged above, NELSON acted with substantial certainty that he would touch an
 28 intimate part of HANSEN, by grabbing HANSEN’s hips and violently thrusting his penis into her
                                                    12
                                          COMPLAINT FOR DAMAGES


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  1 buttocks multiple times. NELSON’s actions directly caused harmful and sexually offensive contact

  2 with an intimate part of HANSEN, and/or an imminent apprehension of harmful and sexually
  3 offensive contact with an intimate part of HANSEN.
  4          48.    HANSEN did not consent to the touching.
  5          49.    HANSEN was harmed and/or offended by NELSON’s conduct.
  6          50.    As a proximate result of NELSON’s intentional sexually offensive touching of
  7 HANSEN, and HANSEN’s apprehension of such touching, HANSEN has sustained and continues
  8 to sustain substantial losses of earnings and other employment benefits, and physical and mental pain

  9 and anguish, all to her damage in a sum according to proof.
 10          51.    As alleged herein, NELSON’s conduct occurred during the course and scope of
 11 HANSEN’s employment with the COMPANY, and/or, on information and belief, was later ratified
 12 by the COMPANY and DOES. The COMPANY and DOES therefore are liable for NELSON’s

 13 conduct, directly and/or under the doctrine of respondeat superior.
 14          52.    NELSON, and by extension, the COMPANY and DOES, committed the acts herein
 15 despicably, maliciously, fraudulently, and oppressively, with the wrongful intention of injuring
 16 HANSEN, from an improper motive amounting to malice, and in conscious disregard of the rights
 17 of HANSEN. HANSEN is thus entitled to punitive damages from NELSON, the COMPANY and
 18 DOES in an amount according to proof.

 19                                     SECOND CAUSE OF ACTION
 20                                                Battery
 21                    (By HANSEN Against NELSON, AMERICAN, and DOES)
 22          53.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 23 every allegation set forth above.
 24          54.    As alleged above, NELSON touched HANSEN without her consent with the intent to
 25 harm and/or offend her. Such touching occurred during the course and scope of HANSEN’s

 26 employment with the COMPANY, and/or, on information and belief, was later ratified by the

 27 COMPANY and DOES. The COMPANY and DOES therefore are liable for HANSEN’s conduct,

 28 directly and/or under the doctrine of respondeat superior.
                                                    13
                                          COMPLAINT FOR DAMAGES


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  1          55.    HANSEN, as any reasonable person in her situation would have been, was harmed
  2 and/or offended by NELSON’s touching.
  3          56.    As a proximate result of NELSON’s intentional touching of HANSEN, HANSEN has
  4 sustained and continues to sustain substantial losses of earnings and other employment benefits, and
  5 physical and mental pain and anguish, all to her damage in a sum according to proof.
  6          57.    NELSON, and by extension, the COMPANY and DOES, committed the acts herein
  7 despicably, maliciously, fraudulently, and oppressively, with the wrongful intention of injuring
  8 HANSEN, from an improper motive amounting to malice, and in conscious disregard of the rights

  9 of HANSEN. HANSEN is thus entitled to punitive damages from NELSON, the COMPANY and
 10 DOES in an amount according to proof.
 11                                     THIRD CAUSE OF ACTION
 12                                               Assault
 13                    (By HANSEN Against NELSON, AMERICAN, and DOES)
 14          58.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 15 every allegation set forth above.
 16          59.    As alleged above, NELSON attempted to touch HANSEN without her consent with
 17 the intent to cause harmful and/or offensive contact, and HANSEN reasonably believed that she was
 18 about to be touched in a harmful and/or offensive manner. Such conduct occurred within the course

 19 and scope of HANSEN’s employment with the COMPANY, and/or, on information and belief, was

 20 later ratified by the COMPANY and DOES. Accordingly, the COMPANY and DOES are liable for
 21 HANSEN’s conduct, directly and/or under the doctrine of respondeat superior.

 22          60.    NELSON’s conduct was a substantial factor in causing HANSEN harm and/or
 23 offense.
 24          61.    As a proximate result of NELSON’s assault of HANSEN, HANSEN has sustained
 25 and continues to sustain substantial losses of earnings and other employment benefits, and has

 26 suffered and continues to suffer humiliation, emotional distress, and physical and mental pain and

 27 anguish, all to her damage in a sum according to proof.

 28
                                                   14
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  1          62.    NELSON, and by extension, the COMPANY and DOES, committed the acts herein
  2   despicably, maliciously, fraudulently, and oppressively, with the wrongful intention of injuring
  3   HANSEN, from an improper motive amounting to malice, and in conscious disregard of the rights
  4   of HANSEN. HANSEN is thus entitled to punitive damages from NELSON, the COMPANY and
  5   DOES in an amount according to proof.
  6                                     FOURTH CAUSE OF ACTION
  7                               Harassment on the Basis of Sex/Gender
  8                        Violation of FEHA, Cal. Gov’t Code Section 12940(j)
  9            (By PLAINTIFFS Against NELSON, MCCANN, AMERICAN and DOES)
 10          63.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 11 every allegation set forth above.
 12          64.    The FEHA provides that it shall be unlawful for an employer or for any person to
 13 harass an employee because of a person’s sex and/or gender. See Cal. Gov’t Code § 12940(j).
 14          65.    At all times herein mentioned, the FEHA was in full force and effect and was binding
 15 on NELSON and the COMPANY. This statute requires NELSON, MCCANN, AMERICAN and
 16 DOES to refrain from harassing any employee on the basis of sex and/or gender, among other things.
 17          66.    As alleged above, during PLAINTIFFS’ employment with the COMPANY,
 18 NELSON and MCCANN intentionally engaged in harassment, including creating a hostile work

 19 environment, on the basis of PLAINTIFFS’ sex and/or gender, in violation of California law. The

 20 COMPANY and DOES knew and/or should have known about the harassment in violation of the
 21 FEHA that was directed toward PLAINTIFF.

 22          67.    A reasonable person subjected to NELSON’s and MCCANN’s harassing conduct
 23 would find, as PLAINTIFFS did, that the unwanted harassment so altered PLAINTIFFS’ working
 24 conditions as to make it more difficult to do her job. See Cal. Gov’t Code § 12923(a).

 25          68.    As a proximate result of NELSON, MCCANN, AMERICAN and DOES’ harassment
 26 of PLAINTIFFS, PLAINTIFFS have sustained and continue to sustain substantial losses of earnings

 27 and other employment benefits, and have suffered and continue to suffer humiliation, emotional

 28 distress, and physical and mental pain and anguish, all to their damage in a sum according to proof.
                                                    15
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  1          69.    PLAINTIFFS have incurred and continue to incur legal expenses and attorneys’ fees.
  2 Pursuant to California Government Code section 12965(b), PLAINTIFFS are entitled to recover
  3 reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof.
  4          70.    NELSON, MCCANN, AMERICAN and DOES committed the acts herein
  5 despicably, maliciously, fraudulently, and oppressively, with the wrongful intention of injuring
  6 PLAINTIFFS, from an improper motive amounting to malice, and in conscious disregard of the

  7 rights of PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from NELSON,
  8 MCCANN, AMERICAN and DOES in an amount according to proof.

  9                                     FIFTH CAUSE OF ACTION
 10                              Discrimination on the Basis of Sex/Gender
 11                           Violation of FEHA, Cal. Gov’t Code § 12940(a)
 12                       (By PLAINTIFFS Against the COMPANY and DOES)
 13          71.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 14 every allegation set forth above.
 15          72.    California’s Fair Employment and Housing Act (the “FEHA”) provides that “the
 16 opportunity to seek, obtain, and hold employment without discrimination because of … race,
 17 religious creed, color, national origin, ancestry, physical disability, mental disability, medical
 18 condition, … marital status, sex, gender, gender identity… age, … is hereby recognized as and

 19   declared to be a civil right.” Cal. Gov’t Code §§ 12921(a), 12940(a).
 20          73.    The purpose of the FEHA is to protect and safeguard the right and opportunity of all
 21 persons to seek, obtain, and hold employment without discrimination or abridgment on the account

 22 of, inter alia, a person’s sex or gender. The FEHA recognizes that the practice of denying
 23 employment opportunities and discriminating in terms of employment substantially and adversely
 24 affects the interest of employees, employers, and the public in general. See Cal. Gov’t Code § 12920.

 25          74.    The FEHA makes it an unlawful employment practice for an employer to discriminate
 26 against an employee “in terms, conditions, or privileges of employment” on the basis of the

 27 employee’s sex or gender. Cal. Gov’t Code § 12940(a).

 28
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  1          75.     As alleged above, PLAINTIFFS’ sex and/or gender were motivating factors in THE
  2 unlawful treatment described herein. As a proximate result of the COMPANY’s willful, knowing,
  3 and intentional discrimination against PLAINTIFFS, PLAINTIFFS have sustained and continue to
  4 sustain substantial losses of earnings and other employment benefits, and have suffered and continue
  5 to suffer humiliation, emotional distress, and physical and mental pain and anguish, all to their
  6 damage in a sum according to proof.

  7          76.     PLAINTIFFS have incurred and continue to incur legal expenses and attorneys’ fees.
  8 Pursuant to California Government Code section 12965(b), PLAINTIFFS are entitled to recover

  9 reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof.
 10          77.     The COMPANY and DOES committed the acts herein despicably, maliciously,
 11 fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFFS, from an
 12   improper and evil motive amounting to malice, and in conscious disregard of PLAINTIFFS’ rights.
 13   PLAINTIFFS are thus entitled to punitive damages from the COMPANY and DOES in an amount
 14   according to proof.
 15                                      SIXTH CAUSE OF ACTION
 16                 Discrimination on the Basis of Disability and/or Medical Condition
 17                            Violation of FEHA, Cal. Gov’t Code § 12940(a)
 18                         (By PLAINTIFFS Against AMERICAN and DOES)
 19          78.     PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 20 every allegation set forth above.
 21          79.     The FEHA provides that “the opportunity to seek, obtain, and hold employment
 22   without discrimination because of … disabilities . . . is hereby recognized as and declared to be a
 23   civil right.” Cal. Gov’t Code § 12921(a).
 24          80.     The FEHA makes it an unlawful employment practice for an employer to discriminate
 25   against an employee “in terms, conditions, or privileges of employment” on the basis of the
 26   employee’s disability and/or medical condition. Cal. Gov’t Code § 12940(a). Under California law,
 27   disability includes not only a current disability, but also being perceived or regarded by the employer
 28   as having or having had a condition that currently has no disabling effect but may become an
                                                     17
                                           COMPLAINT FOR DAMAGES


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  1 impairment limiting the individual’s ability to participate in major life activities in the future

  2 (including working). See Cal. Gov’t Code § 12926(j); 2 Cal. Code. Regs. § 11065(d).
  3          81.    As alleged above, PLAINTIFFS’ disability and/or medical condition were motivating
  4 factors in the COMPANY and DOES’ actions taken against PLAINTIFFS.
  5          82.    As a proximate result of the COMPANY and DOES’ willful, knowing, and
  6 intentional discrimination against PLAINTIFFS, PLAINTIFFS have sustained and continue to

  7 sustain substantial losses of earnings and other employment benefits, and have suffered and continue
  8 to suffer humiliation, emotional distress, and physical and mental pain and anguish, all to their

  9 damage in a sum according to proof.
 10          83.    PLAINTIFFS have incurred and continue to incur legal expenses and attorneys’ fees.
 11 Pursuant to California Government Code section 12965(b), PLAINTIFFS are entitled to recover
 12 reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof.

 13          84.    The COMPANY and DOES committed the acts herein despicably, maliciously,
 14 fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFFS, from an
 15 improper and evil motive amounting to malice, and in conscious disregard of the rights of
 16 PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from the COMPANY and DOES
 17 in an amount according to proof.
 18                                  SEVENTH CAUSE OF ACTION
 19                  Harassment on the Basis of Disability and/or Medical Condition
 20                        Violation of FEHA, Cal. Gov’t Code Section 12940(j)
 21             (By PLAINTIFFS Against BINION, MCCANN, AMERICAN and DOES)
 22          85.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 23 every allegation set forth above.
 24          86.    The FEHA provides that it shall be unlawful for an employer or for any person to
 25 harass an employee because of a person’s disability and/or medical condition. See Cal. Gov’t Code

 26 § 12940(j).

 27          87.    As alleged above, BINION, and MCCANN, AMERICAN and DOES have harassed
 28 PLAINTIFFS because of their disability and/or medical condition.
                                                   18
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  1          88.     Such harassing conduct has been carried out by PLAINTIFFS’ supervisors, and/or by
  2 employees whom the COMPANY and DOES know and/or should know are engaging in such
  3 conduct in violation of the FEHA.
  4          89.     A reasonable person subjected to the harassing conduct would find, as PLAINTIFFS
  5 have, that the unwanted harassment so alters PLAINTIFFS’ working conditions as to make it more
  6 difficult to do their jobs. See Cal. Gov’t Code § 12923(a).

  7          90.     As a proximate result of the BINION, and MCCANN, AMERICAN and DOES’
  8 harassment of PLAINTIFFS, PLAINTIFFS have sustained and continue to sustain substantial losses

  9 of earnings and other employment benefits, and have suffered and continue to suffer humiliation,
 10 emotional distress, and physical and mental pain and anguish, all to their damage in a sum according
 11 to proof.
 12          91.     PLAINTIFFS have incurred and continue to incur legal expenses and attorneys’ fees.
 13 Pursuant to California Government Code section 12965(b), PLAINTIFFS are entitled to recover
 14   reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof.
 15          92.     BINION, and MCCANN, AMERICAN and DOES have committed the acts herein
 16   despicably, maliciously, fraudulently, and oppressively, with the wrongful intention of injuring
 17   PLAINTIFFS, from an improper motive amounting to malice, and in conscious disregard of the
 18   rights of PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from t BINION, and
 19   MCCANN, AMERICAN and DOES in an amount according to proof.
 20                                     EIGHTH CAUSE OF ACTION
 21                    Failure to Accommodate Disability and/or Medical Condition
 22                           Violation of FEHA, Cal. Gov’t Code § 12940(m)
 23                         (By PLAINTIFFS Against AMERICAN and DOES)
 24          93.     PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 25 every allegation set forth above.

 26          94.     It is unlawful under the FEHA for an employer to fail to make reasonable
 27 accommodation for the known physical disability and/or medical condition of an employee.

 28          95.     Under the FEHA, employers who are aware that their employee has a disability and/or
                                                    19
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  1 medical condition have an affirmative duty to make reasonable accommodations for such disability

  2 and/or medical condition. The duty arises even if the employee has not requested reasonable
  3 accommodation. See Cal. Gov’t Code § 12940(m).
  4          96.    PLAINTIFFS are able to perform the essential job duties of their positions with
  5 reasonable accommodation for their disability and/or medical condition.         At all times during
  6 PLAINTIFFS’ employment with the COMPANY, PLAINTIFFS have been qualified to do their jobs.

  7          97.    As alleged above, DEFENDANTS did not reasonably accommodate PLAINTIFFS.
  8          98.    As a proximate result of the COMPANY and DOES’ willful, knowing, and
  9 intentional conduct, as alleged above, PLAINTIFFS have sustained and continue to sustain
 10 substantial losses of earnings and employment benefits, and have suffered and continue to suffer
 11 humiliation, emotional distress, and physical and mental pain and anguish, all to their damage in a
 12 sum according to proof.

 13          99.    PLAINTIFFS have incurred and continue to incur legal expenses and attorneys’ fees.
 14 Pursuant to California Government Code section 12965(b), PLAINTIFFS are entitled to recover
 15 reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof).
 16          100.   The COMPANY and DOES committed the acts herein despicably, maliciously,
 17 fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFFS, from an
 18 improper and evil motive amounting to malice, and in conscious disregard of the rights of

 19 PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from the COMPANY and DOES

 20 in an amount according to proof.
 21                                     NINTH CAUSE OF ACTION
 22                              Failure to Engage in the Interactive Process
 23                         to Accommodate Disability and/or Medical Condition
 24                           Violation of FEHA, Cal. Gov’t Code § 12940(n)
 25                       (By PLAINTIFFS Against the COMPANY and DOES)
 26          101.   PLAINTIFF incorporates by reference and realleges as if fully stated herein each and
 27 every allegation set forth above.

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                                                   20
                                         COMPLAINT FOR DAMAGES


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  1          102.    It is unlawful under the FEHA for an employer to fail to engage in a timely, good
  2 faith, interactive process with the employee to determine effective reasonable accommodations for
  3 an employee with a known physical or mental disability or known medical condition. See Cal. Gov’t
  4 Code § 12940(n).
  5          103.    Under the FEHA, employers who are aware that an employee has a disability and/or
  6 medical condition have an affirmative duty to engage in the interactive process to identify and

  7 provide reasonable accommodations for such disability and/or medical condition. The duty arises
  8 even if the employee has not requested reasonable accommodation.

  9          104.    The FEHA requires a timely, good faith, interactive process between an employer and
 10   an employee with a known physical or mental disability and/or medical condition which includes the
 11   exchange of essential information “without delay or obstruction of the process.” See 2 Cal. Code
 12   Regs. § 11069(a).
 13          105.    As part of a timely, good-faith interactive process, an employer “shall analyze the
 14   particular job involved and the essential functions of the job.” See 2 Cal. Code Regs. § 11069(c)(5).
 15   An employer “shall identify potential accommodations and assess the effectiveness each would have
 16   in enabling the applicant to have an equal opportunity to … perform the essential function of the
 17   position held.” See 2 Cal. Code Regs. § 11069(c)(7). An employer “shall either grant the applicant
 18   or employee’s requested accommodation, or reject it after due consideration, and initiate discussion
 19   with the applicant or employee regarding alternative accommodations.” 2 Cal. Code Regs.
 20 § 11069(c)(1).
 21          106.    PLAINTIFF was willing to participate in an interactive process to determine whether
 22   reasonable accommodation could be made so that she would be able to perform the essential
 23   functions of her job.
 24          107.    As alleged above, the COMPANY and DOES did not initiate or participate in a
 25   timely, good-faith interactive process with the goal of providing reasonable accommodations.
 26          108.    As a proximate result of the COMPANY and DOES’ willful, knowing, and
 27   intentional conduct, as alleged above, PLAINTIFF has sustained and continues to sustain substantial
 28   losses of earnings and employment benefits, and has suffered and continues to suffer humiliation,
                                                    21
                                          COMPLAINT FOR DAMAGES


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  1 emotional distress, and physical and mental pain and anguish, all to her damage in a sum according

  2 to proof.
  3          109.   PLAINTIFF has incurred and continues to incur legal expenses and attorneys’ fees.
  4 Pursuant to California Government Code section 12965(b), PLAINTIFF is entitled to recover
  5 reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof).
  6          110.   The COMPANY and DOES committed the acts herein despicably, maliciously,
  7 fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFF, from an
  8 improper and evil motive amounting to malice, and in conscious disregard of the rights of

  9 PLAINTIFF. PLAINTIFF is thus entitled to punitive damages from the COMPANY and DOES in
 10 an amount according to proof.
 11                                     TENTH CAUSE OF ACTION
 12                      Retaliation for Opposing Practices Forbidden by FEHA
 13                           Violation of FEHA, Cal. Gov’t Code § 12940(h)
 14                       (By PLAINTIFFS Against the COMPANY and DOES)
 15          111.   PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 16 every allegation set forth above.
 17          112.   At all times herein mentioned, the FEHA required the COMPANY and DOES to
 18 refrain from retaliating against any employee for opposing practices forbidden by the FEHA or who

 19 asserts rights under the FEHA, including complaining of harassment, discrimination and retaliation

 20 on the basis of sex and/or gender, among other things. Cal. Gov’t Code § 12940(h).
 21          113.   As alleged herein, during PLAINTIFFS’ employment with the COMPANY,
 22 PLAINTIFFS were subjected to unlawful harassment, discrimination and retaliation based on their
 23 sex and/or gender, as well as their disability and/or medical condition, about which PLAINTIFFS
 24 complained to the COMPANY and DOES.

 25          114.   As alleged herein, the COMPANY and DOES retaliated against PLAINTIFFS by,
 26 among other things, altering the terms and conditions of their employment.

 27          115.   As a proximate result of the COMPANY and DOES’ retaliation against
 28 PLAINTIFFS, PLAINTIFFS have sustained and continue to sustain substantial losses of earnings
                                                   22
                                         COMPLAINT FOR DAMAGES


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  1 and other employment benefits, and have suffered and continue to suffer humiliation, emotional

  2 distress, and mental and physical pain and anguish, all to their damage in a sum according to proof.
  3          116.   PLAINTIFFS have incurred and continue to incur legal expenses and attorneys’ fees.
  4 Pursuant to California Government Code section 12965(b), PLAINTIFFS are entitled to recover
  5 reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof.
  6          117.   The COMPANY and DOES committed the acts herein despicably, maliciously,
  7 fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFFS, from an
  8 improper and evil motive amounting to malice, and in conscious disregard of the rights of

  9 PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from the COMPANY and DOES
 10 in an amount according to proof.
 11                                 ELEVENTH CAUSE OF ACTION
 12   Failure to Prevent, Investigate, and Remedy Harassment, Discrimination and/or Retaliation
 13                           Violation of FEHA, Cal. Gov’t Code § 12940(k)
 14                       (By PLAINTIFFS Against the COMPANY and DOES)
 15          118.   PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 16 every allegation set forth above.
 17          119.   California law requires that employers take reasonable steps to prevent and correct
 18 wrongful behavior, including but not limited to, harassing, discriminatory, and retaliatory behavior

 19 in the workplace. See Cal. Gov’t Code §12940(k). Pursuant to this statute, the COMPANY and

 20 DOES were required to take all reasonable steps to prevent harassment and retaliation based on
 21 PLAINTIFFS’ sex and/or gender, disability and/or other protected characteristics.

 22          120.   As alleged herein, the COMPANY and DOES violated the FEHA by failing to take
 23 all reasonable steps necessary to prevent the harassment, discrimination, and retaliation from
 24 occurring. Cal. Gov’t Code § 12940(k).

 25          121.   As alleged herein, the COMPANY and DOES were made aware of harassment,
 26 discrimination and retaliation against PLAINTIFFS, but did not take immediate or corrective action

 27 to prevent further harassment, discrimination or retaliation against PLAINTIFFS.

 28          122.   As a proximate result of the COMPANY and DOES’ willful, knowing, and
                                                   23
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  1 intentional failure to prevent, investigate, and remedy harassment, discrimination and retaliation

  2 against PLAINTIFFS, PLAINTIFFS have sustained and continue to sustain substantial losses of
  3 earnings and other employment benefits, and have suffered and continue to suffer humiliation,
  4 emotional distress, and mental and physical pain and anguish, all to their damage in a sum according
  5 to proof.
  6          123.    PLAINTIFFS have incurred and continue to incur legal expenses and attorneys’ fees.
  7 Pursuant to California Government Code section 12965(b), PLAINTIFFS are entitled to recover
  8 reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof.

  9          124.    The COMPANY and DOES committed the acts herein despicably, maliciously,
 10 fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFFS, from an
 11 improper and evil motive amounting to malice, and in conscious disregard of the rights of
 12 PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from the COMPANY and DOES

 13 in an amount according to proof.
 14                                   TWELFTH CAUSE OF ACTION
 15                                       Whistleblower Retaliation
 16                                 Violation of Cal. Lab. Code § 1102.5
 17                       (By PLAINTIFFS Against the COMPANY and DOES)
 18          125.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 19 every allegation set forth above.

 20          126.    At all relevant times, California Labor Code section 1102.5 was in effect and was
 21 binding on the COMPANY and DOES. Section 1102.5 states, “An employer, or any person acting

 22 on behalf of the employer, shall not retaliate against an employee for disclosing information… if the
 23 employee has reasonable cause to believe that the information discloses a violation of state or federal
 24 statute, or a violation of or noncompliance with a local, state, or federal rule or regulation….” Cal.

 25 Lab. Code § 1102.5(b).

 26          127.    California Labor Code section 1102.5(c) also states that “[a]n employer, or any person
 27 acting on behalf of the employer, shall not retaliate against an employee for refusing to participate

 28 in an activity that would result in a violation of state or federal statute, or a violation of or
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  1 noncompliance with a local, state, or federal rule or regulation.” Cal. Lab. Code § 1102.5(c).

  2          128.   At all relevant times, an employer is responsible for the acts of its managers, officers,
  3 agents, and employees. See Cal. Lab. Code § 1104.
  4          129.   As alleged herein and above, PLAINTIFFS engaged in activity protected by the
  5 California Labor Code when, among other things, PLAINTIFFS opposed harassment, discrimination
  6 and retaliation against them in the workplace, as well as NELSON’s potential drinking of alcohol

  7 while on duty, which endangered the lives of hundreds of passengers and fellow crew members. In
  8 response, the COMPANY and DOES retaliated against PLAINTIFFS by changing the terms and

  9 conditions of their employment, as alleged herein.
 10          130.   As a proximate result of the COMPANY and DOES’ willful, knowing, and
 11 intentional retaliation against PLAINTIFFS, have sustained and continue to sustain substantial losses
 12 of earnings and other employment benefits, and have suffered and continue to suffer humiliation,

 13 emotional distress, and mental and physical pain and anguish, all to their damage in a sum according
 14 to proof.
 15          131.   The COMPANY and DOES committed the acts herein despicably, maliciously,
 16 fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFFS, from an
 17   improper and evil motive amounting to malice, and in conscious disregard of the rights of
 18   PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from the COMPANY and DOES
 19   in an amount according to proof.
 20                                THIRTEENTH CAUSE OF ACTION
 21                                      Whistleblower Retaliation
 22                                  Violation of Cal. Lab. Code § 6310
 23                       (By PLAINTIFFS Against the COMPANY and DOES)
 24          132.   PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 25 every allegation set forth above.

 26          133.   At all relevant times, California Labor Code section 6310 was in effect and was
 27 binding on the COMPANY. Section 6310 prohibits employers from discharging, or in any manner

 28 discriminating against an individual in the terms and conditions of her employment “because the
                                                    25
                                          COMPLAINT FOR DAMAGES


                                                                                           Exhibit A - Page 42
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  1   employee has made a bona fide oral or written complaint to… his or her employer… of unsafe
  2   working conditions, or work practices, in his or her employment or place of employment…” Cal.
  3   Lab. Code § 6310(b).
  4          134.    As alleged herein and above, PLAINTIFFS engaged in activity protected by the
  5   California Labor Code when PLAINTIFFS complained to the COMPANY and DOES of unsafe
  6   working conditions caused by the harassment, assault, and battery they experienced, in addition to
  7   NELSON’s potential drinking of alcohol while on duty, which jeopardized the safety of the
  8   COMPANY’s employees. In response, the COMPANY and DOES retaliated against PLAINTIFFS
  9   by changing the terms and conditions of her employment, as alleged herein.
 10          135.    As a proximate result of the COMPANY and DOES’ willful, knowing, and
 11   intentional retaliation against PLAINTIFFS, PLAINTIFFS have sustained and continue to sustain
 12   substantial losses of earnings and other employment benefits, and have suffered and continue to
 13   suffer humiliation, emotional distress, and mental and physical pain and anguish, all to their damage
 14   in a sum according to proof.
 15          136.    The COMPANY and DOES committed the acts herein despicably, maliciously,
 16   fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFFS, from an
 17   improper and evil motive amounting to malice, and in conscious disregard of the rights of
 18   PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from the COMPANY and DOES
 19   in an amount according to proof.
 20                                  FOURTEENTH CAUSE OF ACTION
 21                              Intentional Infliction of Emotional Distress
 22                           (By PLAINTIFFS Against ALL DEFENDANTS)
 23          137.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 24 every allegation set forth above.

 25          138.    A person intentionally inflicts emotional distress when he/she engages in extreme and
 26 outrageous conduct with either: (1) an intent to cause emotional distress; or (2) reckless disregard of

 27 the probability of causing emotional distress, and actually does cause severe emotional suffering.

 28 See Hughes v. Pair, 46 Cal.4th 1035, 1050 (2009).
                                                    26
                                          COMPLAINT FOR DAMAGES


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  1          139.    DEFENDANTS owed PLAINTIFFS a duty of care not to cause PLAINTIFFS
  2 emotional distress.
  3          140.    As alleged herein and above, DEFENDANTS engaged in unlawful behavior in
  4 relation to PLAINTIFFS that
  5 caused PLAINTIFFS severe and extreme emotional distress that exceeded the normal risks of the
  6 employment relationship.

  7          141.    DEFENDANTS were aware that treating PLAINTIFFS in the manner alleged above
  8 would cause PLAINTIFFS extreme hardship.

  9          142.    DEFENDANTS breached their duty to PLAINTIFFS by way of their own conduct,
 10 as alleged herein and above.
 11          143.    Such acts of DEFENDANTS were intentional, extreme, and outrageous, and were
 12 done with the intent to cause serious emotional distress or with reckless disregard of the probability

 13 of causing PLAINTIFFS serious emotional distress.
 14          144.    As a proximate result of DEFENDANTS’ extreme and outrageous conduct,
 15 PLAINTIFFS have suffered and continue to suffer humiliation, emotional distress, and mental and
 16 physical pain and anguish, all to their damage in a sum according to proof.
 17          145.    DEFENDANTS committed the acts herein despicably, maliciously, fraudulently, and
 18 oppressively, with the wrongful intention of injuring PLAINTIFFS, from an improper and evil

 19 motive amounting to malice, and in conscious disregard of the rights of PLAINTIFFS. PLAINTIFFS

 20 are thus entitled to punitive damages from DEFENDANTS in an amount according to proof.
 21                                 FIFTEENTH CAUSE OF ACTION
 22                              Negligent Infliction of Emotional Distress
 23                          (By PLAINTIFFS Against ALL DEFENDANTS)
 24          146.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 25 every allegation set forth above.

 26          147.    DEFENDANTS owed PLAINTIFFS a duty of care not to cause PLAINTIFFS
 27 emotional distress.

 28          148.    As alleged herein and above, DEFENDANTS breached their duty to PLAINTIFFS
                                                    27
                                          COMPLAINT FOR DAMAGES


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  1   by way of their own conduct, as alleged herein and above.
  2           149.   DEFENDANTS knew, or should have known, that treating PLAINTIFFS in the
  3   manner alleged above would cause PLAINTIFFS extreme hardship.
  4           150.   As a proximate result of DEFENDANTS’ negligent conduct, PLAINTIFFS have
  5   suffered and continue to suffer humiliation, emotional distress, and mental and physical pain and
  6   anguish, all to their damage in a sum according to proof.
  7                                  SIXTEENTH CAUSE OF ACTION
  8                                     Negligent Retention/Supervision
  9                        (By PLAINTIFFS Against the COMPANY and DOES)
 10           151.   PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 11 every allegation set forth above.
 12           152.   California law makes an employer liable for an employee’s negligence, recklessness
 13 or intentional wrongful acts when the employer knew or should have known that the employee was
 14 a risk to others. Doe v. Capital Cities, 50 Cal. App. 4th 1038 (1996).
 15           153.   Pursuant to California law, “An employer may be liable to a third person for the
 16 employer’s negligence in hiring or retaining an employee who is incompetent or unfit.’” Roman
 17 Catholic Bishop v. Superior Court, 42 Cal. App. 4th 1556, 1564-1565 (1996).            The Restatement
 18 (Second) of Agency section 213, provides in pertinent part, that “[a] person conducting an activity

 19 through servants or agents is subject to liability for harm resulting from his conduct if he is negligent

 20 or reckless: … (b) in the employment of improper persons or instrumentalities in work involving risk
 21 of harm to others…” Id.; see also, Evan F. v. Hughson United Methodist Church, 8 Cal. App. 4th

 22 828, 836 (1992); Delfino v. Agilent Technologies, Inc., 145 Cal. App. 4th 790, 815 (2006).
 23           154.   The COMPANY and DOES had a duty to protect PLAINTIFFS from NELSON’s
 24 tortious conduct, as alleged above. The COMPANY and DOES had knowledge of NELSON’s past

 25 misconduct that made him unfit for his position, including that other pilots had placed him on their

 26 “no-fly list,” but took no action in response. Instead, the COMPANY and DOES retained his

 27 employment, thereby ratifying his conduct, with a conscious disregard of PLAINTIFFS’ rights and

 28 safety.    The COMPANY and DOES are therefore liable for the deleterious consequences of
                                                     28
                                           COMPLAINT FOR DAMAGES


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  1 NELSON’s wrongful conduct. Moreover, NELSON was responsible to the COMPANY and DOES,

  2 which did not monitor his activities, and such failure to supervise NELSON’s activities is negligence
  3 per se.
  4           155.   As a proximate result of the COMPANY and DOES’ tortious conduct, PLAINTIFFS
  5 have sustained and continue to sustain substantial losses of earnings and other employment benefits,
  6 and have suffered and continue to suffer humiliation, emotional distress, and mental and physical

  7 pain and anguish, all to their damage in a sum according to proof.
  8                               SEVENTEENTH CAUSE OF ACTION
  9                               Failure to Reimburse Business Expenses
 10                                  Violation of Cal. Lab. Code § 2802
 11                       (By PLAINTIFFS Against the COMPANY and DOES)
 12           156.   PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
 13 every allegation set forth above.
 14           157.   At all relevant times herein, California Labor Code section 2802 requires an employer
 15 to indemnify an employee “for all necessary expenditures or losses incurred by the employee in
 16 direct consequence of the discharge of his or her duties….” Cal. Lab. Code § 2802(a). This includes
 17 costs associated with the use of personal cell phones for work-related purposes.
 18           158.   As alleged herein, PLAINTIFFS incurred necessary business-related expenses and
 19 costs that were not reimbursed by the COMPANY and/or DOES, including, costs for mileage and

 20 parking to meet with the COMPANY’s Human Resources representative following PLAINTIFFS’
 21 complaint about NELSON’s assault, battery, and harassment. In violation of Labor Code section

 22 2802, the COMPANY and DOES failed to reimburse PLAINTIFFS for these necessary expenses
 23 incurred for the COMPANY and/or DOES’ business.
 24           159.   PLAINTIFFS have been damaged in an amount according to proof at trial, and seek
 25 all reimbursements owed, interest, attorneys’ fees, expenses, and costs of suit.

 26           160.   As a proximate result of the COMPANY and DOES’ tortious conduct, PLAINTIFFS
 27 have sustained and continue to sustain substantial losses of earnings and other employment benefits,

 28 and have suffered and continue to suffer humiliation, emotional distress, and mental and physical
                                                    29
                                          COMPLAINT FOR DAMAGES


                                                                                          Exhibit A - Page 46
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  1 pain and anguish, all to their damage in a sum according to proof.

  2                                  EIGHTEENTH CAUSE OF ACTION
  3                                           Violation of Ralph Act
  4                                  Violation of Cal. Civ. Code section 51.7
  5                         (By PLAINTIFFS Against the COMPANY and DOES)
  6           161.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  7 every allegation set forth above.
  8           162.    California Civil Code section 51.7(b) entitles individuals “to be free from any
  9 violence, or intimidation by threat of violence, committed against their persons or property because
 10 of … any characteristic listed or defined in subdivision (b) or (e) of Section 51,” including
 11 sex/gender.
 12           163.    Pursuant to California Civil Code section 52(b), “[w]hoever denies the right provided
 13 by Section 51.7 or 51.9, or aids, incites, or conspires in that denial, is liable for each and every offense
 14 for the actual damages suffered by any person denied that right and, in addition, the following:” (1)
 15 punitive damages; (2) a civil penalty of $25,000 to the person denied the right; and (3) attorneys’
 16 fees.
 17           164.    As set forth in the allegations above, DEFENDANTS committed acts of violence
 18 against PLAINTIFFS because of their sex/gender, as NELSON, an AGENT of THE COMPANY

 19 and DOES, committed violent acts against each of PLAINTIFFS, which were substantially

 20 motivated by PLAINTIFFS’ sex/gender.
 21           165.    As set forth in the allegations above, PLAINTIFFS were harmed by this misconduct,
 22 which was a substantial factor in causing PLAINTIFFS ongoing harm.
 23           166.    As a result of DEFENDANTS’ conduct, each of PLAINTIFFS has sustained and
 24 continues to sustain substantial losses of earnings and other employment benefits, and each has

 25 suffered and continues to suffer humiliation, emotional distress, and mental and physical pain and

 26 anguish, all to their damage in a sum according to proof.

 27           167.    As a result of DEFENDANTS’ conduct, PLAINTIFFS are also each entitled to a civil
 28 penalty in the amount of $25,000, punitive damages, and attorneys’ fees, in sums according to proof.
                                                      30
                                            COMPLAINT FOR DAMAGES


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  1                                        PRAYER FOR RELIEF
  2          Wherefore PLAINTIFFS JANETTE BECKMAN and LEEANNE HANSEN respectfully
  3 pray for judgment and relief against DEFENDANTS AMERICAN AIRLINES GROUP INC.,
  4 AMERICAN AIRLINES, INC., SIGSBEE “JOHN” NELSON, TIM MCCANN, CAMERON
  5 BINION, and DOES 1 through 25, inclusive, and each of them, as follows:
  6          1.     For compensatory damages, including but not limited to lost past and future wages,
  7 emotional distress damages, and damages for injury and medical expenses, in an amount to be
  8 ascertained at trial;

  9          2.     For civil penalties in the amount of $25,000 for each PLAINTIFF, pursuant to
 10 California Civil Code section 52(b);
 11          3.     For punitive damages in an amount sufficient to punish or make an example of
 12 DEFENDANTS pursuant to California Civil Code sections 52 and 3294, and all other applicable

 13 statutes;
 14          4.     For reimbursement of necessary business expenses PLAINTIFFS have incurred;
 15          5.     For all available injunctive, equitable and other relief, including remedies authorized
 16 by California Government Code section 12965(c);
 17          6.     For “affirmative relief” as defined in California Government Code section 12926(a);
 18          7.     For interest at 10% per annum, pursuant to California Labor Code section 2802,
 19 California Civil Code sections 3287, 3288, and/or any other applicable provision providing for pre-

 20 judgment interest;
 21          8.     For reasonable attorneys’ fees and costs, including expert costs;
 22          9.     For declaratory relief; and
 23 / / /
 24 / / /

 25 / / /

 26 / / /

 27 / / /

 28 / / /
                                                   31
                                         COMPLAINT FOR DAMAGES


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     1          10.    For such further relief that the Court may deem just and proper.
     2

     3   DATED: July 2, 2020                             GUNN COBLE LLP
     4

     5                                                   By:     ~ .f-_-.
                                                               Ca~J. Coble
     6                                                         Beth . unn
     7                                                   Attorneys for Plaintiffs
                                                         JANETTE BECKMAN and LEEANNE
     8                                                   HANSEN
     9

    10

    11
                                         DEMAND FOR JURY TRIAL
    12
                PLAINTIFFS JANETTE BECKMAN and LEEANNE HANSEN hereby demand a jury trial
    13
         with respect to all issues triable of right by jury. The amount demanded exceeds $25,000. See Cal.
    14
         Gov't Code § 72055.
    15

    16
         DATED: July 2, 2020                             GUNN COBLE LLP
    17

    18
    19
                                                         By:      ~9-
                                                               Beth
                                                               cathe'.coble
    20

    21                                                   Attorneys for Plaintiffs
                                                         JANETTE BECKMAN and LEEANNE
    22                                                   HANSEN

    23

    24

    25

    26

    27

    28
                                                         32
                                            COMPLAINT FOR DAMAGES




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                                                                                    ID #:53
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                                                         SUMMONS                                                                                FOR COURT USE ONLY
                                                                                                                                            (SOLO PARA USO DE LA CORTE)
                                                (CITACION JUDICIAL)
           NOTICE TO DEFENDANT: AMERICAN AIRLINES GROUP INC., a Delaware
           (A VISO AL DEMANDADO): corp., AMERICAN AIRLINES, INC., a Delaware
            corp., SIGSBEE “JOHN” NELSON, an individual, CAMERON BINION, an
            individual, TIM MCCANN, an individual and DOES 1 through 50, inclusive,

           YOU ARE BEING SUED BY PLAINTIFF: JANETTE BECKMAN, an individual,
           (LO ESTA DEMANDANDO EL DEMANDANTE): and LEANNE HANSEN, an
            individual



            NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
            below.
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
            served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
            case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
            Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
            the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
            may be taken without further warning from the court.
                There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
            referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
            these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
            (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
            costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
            jAVISO! Lohan demandado. Si no responde dentro de 30 dfas, la carte puede decidir en su contra sin escuchar su version. Lea la informaci6n a
            continuaci6n.
               Tiene 30 DfAS DE CALENDAR/O despues de que le entreguen esta citaci6n y papeles legales para presentar una respuesta par escrito en esta
            carte y hacer que se entregue una copia al demandante. Una carta o una 1/amada telef6nica no lo protegen. Su respuesta par escrito tiene que estar
            en formato legal correcto si desea que procesen su caso en la carte. Es posible que haya un formulario que usted pueda usar para su respuesta.
            Puede encontrar estos formularios de la carte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
            biblioteca de /eyes de su condado o en la carte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la carte
            que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso par incumplimiento y la carte le
            podra quitar su sue/do, dinero y bienes sin mas advertencia.
              Hay otros requisitos legales. Es recomendable que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede 1/amar a un servicio de
            remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con las requisitos para obtener servicios legales gratuitos de un
            programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
            (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la carte o el
            colegio de abogados locales. AV/SO: Par fey, la carte tiene derecho a reclamar las cuotas y las costos exentos par imponer un gravamen sabre
            cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
            pagar el gravamen de la carte antes de que la carte pueda desechar el caso.

           The name and address of the court is:                                                                               CASE NUMBER:
                                                                                                                               (Numero def Caso):
           (El nombre y direcci6n de la carte es):
          Superior Court of California, County of Los Angeles
          111 North Hill Street
          Los Angeles, California 90012
           The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: Catherine Coble
           (El nombre, la direcci6n y el numero de telefono def abogado def demandante, o def demandante que no tiene abogado, es):
          GUNN COBLE LLP
          101 S. 1st Street, Suite 407, BURBANK, CA 91502                                                                                                (818) 900-0695
           DATE:                                                                                 Clerk, by                                                                    , Deputy
          (Fecha)                                                              (Secretario)                                                                                    (Adjunto)
          (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
          (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                            NOTICE TO THE PERSON SERVED: You are served
            [SEAL]
                                                    1.   D      as an individual defendant.
                                                    2.   D      as the person sued under the fictitious name of (specify):



                                                    3.   D      on behalf of (specify):

                                                         under:   D        CCP 416.10 (corporation)                D                      CCP 416.60 (minor)
                                                                  D        CCP 416.20 (defunct corporation)        D                      CCP 416.70 (conservatee)
                                                                  D        CCP 416.40 (association or partnership) D                      CCP 416.90 (authorized person)

                                                                  D        other (specify):
                                                    4.   D      by personal delivery on (date):
                                                                                                                                                                                 Pae1of1
            Form Adopted for Mandatory Use
              Judicial Council of California
                                                                                         SUMMONS                                                      Code of Civil Procedure§§ 412.20, 465
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              SUM-100 [Rev. July 1, 2009]                                                                                                                         Westlaw Doc & Form Builder-




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                                                                                             ID #:54
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             ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar numbei and                                                                             FOR COURT USE ONL '7
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                        Coble SBN 223461     I


               Gunn Cobls LLP
               101 S 1st Street 407 Burbsnk, CA 91502

              TELEPHQNE No      (818) 900 0898 FAx No (8187 900 0723 (E MAIL ADDREss
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                   ATTORNEY FOR (Namei Plamtiff Janette Beckman LeeAnne Hansen



             LOS ANGELES COUNTY SUPERIOR COURT
                         STREETAooREss 111 NORTH HILL ST
                         MAILING ADDRESS

                        CITY AND ZIP CODE          LOS ANGELES, CA 9001 2
                            BRANCH NAME            CENTRAL DISTRICT
                    PLAINTIFF           Jsnette Beckmsn; LseAone Hsnsen                                                         C SE NUMBER 20STCV25029 Dept 15

              DEFENDANT Amencsn Airffnes Group, Inc, et sl

                                                                                                                                    Ref No or File No
                                                            PROOF OF SERVICE OF SUMMONS

                                                                   (Separate proof of service is required for each party served.)
         1. At the time of service I was at least 18 years of age and not a party to this action.
         2     I    served copies of:
               a.R Summons
               b.2 Complaint
               c   Alternatwe Dispute Resolution (ADR) package
               d R Case Cover Sheet (served in complex cases only)
                                Civil
               e   Cross-complaint
               f.2 other (specify documents): Addendum, Notice of Case Assignment
         3 a. Party served (specify name of party as shown on documents served)
               AMERICAN AIRLINES, INC., a Delaware corporation

               b        R Person (other than the party item 3a) served on behalf of an entity or as an authonzed agent (and not a person under
                                                                         in
                           item 5b on whom substituted service was made) (sperdfy name and relationship to the party named in item 3a):
                        Albert Demonte - Authorized to Accept Service
        4 Address where the party was served: 818 W 7th St Ste 930
                                                                              Los Angeles, CA 90017-3476
         5     I    se~rv d the party (check proper box)
               0 L-I            by personal service. personally dehvered the documents listed in item 2 to the party or person authonzed to
                                                               I



                                receive service of process for the party (I) on(dale): 7(28)2020 (2} at(lime) 11:55 AM

                                by substituted service. On (dele): at (lime). I left the documents listed in item 2 with or
                                in the presence of (name and litle or relationship fo person indicated in item 3b).


                            (1)          (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                                         person to be served informed him of her of the general nature of the papers
                                                                         I




                            (2)          (home) a competent member of the househoid (at least 18 years of age) at the dwelhng house or usual place of
                                         abode of the party          I   informed him or her of the general nature of the papers.

                            (3)          (physical address unknown) a person at least 18 years of age apparently tn charge at the usual mailing
                                         address of the person to be served, other than a United States Postal Service post office box. informed him of    I

                                         her of the general nature of the papers.
                            (4)          Ithereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                                         place where the copies were left (Code Civ. Proc., 941 5 20). I mailed the documents on
                                         (dale): from (city).                                                or     a declaration of maihng is attached
                            (5)          I       attach a declaration of diligence statmg actions taken first to attempt personal service.



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        Form APO o df Mandatory Use                                                                                                                            Code of C»I P ocedure 9 f17 10
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                                                                          ID #:55

           PETITIONER Janette aeckman; LeeAnne Hansen                                                           CASE NUMBER.

                                                                                                                              20STCV25020
          RESPONDENT American Airlines Group, Inc., et al.


     c,           by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                  shown in item 4, by first-class mail, postage prepaid,
                  (1) on (dale).                                              (2) from (city).
                  (3)         with two copies of the Notice and Acknow/edgmenf of Receiptand a postage-paid return envelope addressed to me.
                              (A//ach completed Notice and Acknowledgement of Receipt.} {Code Civ. Proc., {j 415.30.)
                  (4)    to an address outside California with return receipt requested (Code Civ Proc., k 415 40 )
     d            by other means (specify means of service and authonz/ng code section):


          Additional page describing service is attached.
6. The "Notice to the Person Served" (on the summons) was completed as follows

     a.           as an individual defendant.
     Ig           as the person sued under the fictitious name of (specify)
     c            as occupant.
     d. j — {     On behalf of (specify). AMERICAN AIRLINES, INC., a Delaware corporation
                  under the following Code of Ciwl Procedure section.
                                      416 10 (corporation)                            415.95 {business organization, form unknown)
                                      416.20 (defunct corporation)               H 416.60 (minor)
                                      416 30 (joint stock company/assoination)   2 416.70 {ward or conservatee)
                                      416 40 (assotnation or partnership)        U 416.90 (authorized person)
                                      416.50 (pubkc entity)                           415.46 (occupant)
                                                                                      other
7.   Person who served papers
     a. Name   Arman Mardigian - Cal West Attorney Services, Inc
     b. Address. 1201 W. Temple Street Los Angeles, CA 90026
     c. Telephone number: {213) 353-9100
     d The fee for service was. $ 60.00
     e 1am
           (1)     not a registered California process server.
           (2)   + exempt from registration under Business and Professions Code section 22350(b).
           (3) L~J registered California process server.
                    (i)   Lj owner                     employee           Zj independent contractor.
                    (n) Registration No..     6668
                    (iii) County      Los Angeles

8    g      I


            or
                declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct

9,          I   am a California sheriff or marshal and certify that the foregoing is true and correct.
                                                               I




                 Date 7/28/2020
                 Cal West Attorney Services, Inc
                 1201 W. Temple Street
                 Los Angeles, CA 90026
                 (213) 353-9100
                 www.calwest.info



                                     Arm nM r i ian
                        (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL                                    (SIGNATURE)




Pos 010 IRe Ja           r I 2007]                                                                                                            Pag 20/2
                                                            PROOF OF SERVICE OF SUMMONS
                                                                                                                                    POS-010/CW35'1 237




                                                                                                                              Exhibit A - Page 52
